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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                                     CIVIL ACTION NO.

VERSUS                                                               20-92-BAJ-EWD

REC MARINE LOGISTICS, LLC, ET AL.

                     TELEPHONE CONFERENCE REPORT AND ORDER

           A telephone conference was held with the following participants before Magistrate Judge

Erin Wilder-Doomes on May 5, 2021 to discuss the Motion to Compel Discovery Responses and

to Strike the Non-Insurance Defendants’ McCorpen Defense (“the Motion”), 1 filed by McArthur

Griffin (“Plaintiff’):

           PRESENT:      Daniel Sheppard                     Kyle A. Khoury
                         Counsel for Plaintiff,              Counsel for Defendants,
                         McArthur Griffin                    REC Marine Logistics, LLC
                                                             GOL, LLC, Gulf Offshore Logistics,
                                                             LLC and Offshore Transport
                         Alan R. Davis                       Services, LLC
                         Counsel for Defendant,
                         QBE Insurance (Europe) Limited

           In the Motion, Plaintiff contends that he propounded discovery to Defendants REC Marine

Logistics, LLC; GOL, LLC; Gulf Offshore Logistics, LLC; and Offshore Transport Services, LLC

(“Defendants”) on March 2, 2021 but has not yet received responses, despite defense counsel’s

agreement to produce responses by the informal extended deadline of April 20, 2021. Plaintiff

also seeks to preemptively strike Defendants “McCorpen” defense, which Plaintiff acknowledges

Defendants have not formally pled, due to Defendants’ failure to timely respond to discovery

requests which, in part, seek information about the defense. 2




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    R Doc. 63.
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    R. Doc. 63-1.

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       During the conference, Plaintiff advised that Defendants served responses to the second set

of discovery requests; however, Plaintiff contends that the responses assert boilerplate objections

and that Defendants failed to produce all of the documents requested, including documents

relevant to Defendants’ purported McCorpen defense. Defendants argued that Plaintiff is seeking

medical records from many current and former employees of four companies who have not

authorized the release of such information. Plaintiff countered that the requested records are

relevant and proportional to the needs of the case because Defendants have sought fifty years of

Plaintiff’s medical records and because Plaintiff intends to use the employees’ medical records to

determine Defendants’ treatment of employees with prior injuries.             However, Plaintiff

acknowledged that he is unaware of how many employees’ records were encompassed by the

request or Defendants’ records retention policies.

       The Motion is based on an assertion that discovery responses were not timely provided,

while Plaintiff’s argument during the telephone conference focused the deficiencies in the

responses. Additionally, it does not appear that the parties have conferred sufficiently to attempt

to resolve their discovery disputes based on counsel’s answers to questions from the undersigned

during the telephone conference.

       After providing guidance to the parties, the parties were ordered to confer to resolve their

discovery disputes in accordance with their Fed. R. Civ. P. 37 obligations. The Motion will be

terminated because discovery responses were provided and because there is no legal basis to strike

a defense that has not yet been, and may never be, pled. Plaintiff’s issues with Defendants’

responses are more properly asserted in a different Motion to Compel if the parties cannot amicably

resolve the outstanding issues.




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           Accordingly,

           IT IS ORDERED that Plaintiff’s Motion to Compel Discovery Responses and to Strike

the Non-Insurance Defendants’ McCorpen Defense, 3 is DENIED for the reasons stated in this

Report and Order.

           IT IS FURTHER ORDERED that, by no later than May 12, 2021 and after the parties

engage in an adequate Fed. R. Civ. P. 37 discovery conference, Plaintiff McArthur Griffin may

file a new motion to compel, which shall identify in detail any outstanding issues and the parties’

efforts to resolve them.

           Signed in Baton Rouge, Louisiana, on May 5, 2021.


                                              S
                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE




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    R. Doc. 63.


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